                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                               )
 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )
                                               )       Criminal Case No. 22-cr-00007-LKG
 MARILYN J. MOSBY,                             )
                                               )       Dated: November 18, 2022
        Defendant.                             )
                                               )

                     ORDER ON THE PARTIES’ MOTIONS TO SEAL
       On November 4, 2022, the Government filed a motion to seal its response to Defendant’s
motion to transfer venue (ECF Nos. 141 and 142). On November 14, 2022, the Defendant filed a
motion to seal her reply in support of her motion to transfer venue (ECF Nos. 147 and 148).

       The Court previously held in its November 10, 2022, Order on the Defendant’s motion
to seal her motion to transfer venue that confidential juror responses should not be publicly
disclosed during the pendency of this criminal matter, consistent with Local Rule 204. The
Court also directed Defendant to redact this information from the public version of her motion to
transfer venue. The subject filings do not contain confidential juror responses.
And so, the Court:

       1. DENIES the Government’s motion to seal;
       2. DENIES the Defendant’s motion to seal; and
       3. DIRECTS the Clerk of the Court to UNSEAL ECF Nos. 142 and 148.

IT IS SO ORDERED.


                                                   s/ Lydia Kay Griggsby
                                                   LYDIA KAY GRIGGSBY
                                                   United States District Judge
